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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION



 MPT, Inc.                                   )      CASE NO. 1:04 CV 2357
                                             )
                      Plaintiff,             )      JUDGE PATRICIA A. GAUGHAN
                                             )
               Vs.                           )
                                             )
 Marathon Labels, Inc.,                      )
 Marathon Durable Labeling                   )      Memorandum of Opinion and Order
       Systems LLC, and                      )
 Polymeric Converting, LLC                   )
                                             )
                      Defendants.            )



        INTRODUCTION

        This matter is before the Court upon Defendant, Polymeric’s, Motion to Compel

 Production of Documents Previously Requested Under Subpoena Duces Tecum from the

 Kennedy Group (Doc. 97) and the Motion to Compel of Defendant Polymeric Seeking

 Disclosure of Documents and Things Pursuant to Fed. R. Civ. P. 34 and 37(a) (Doc. 91).1 The


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         Polymeric has also filed a Motion Seeking to Compel Disclosure
         Pursuant to Fed. R. Civ. P. 37(a) (Doc. 105). In this motion, filed
         approximately two weeks after the motions discussed here,
         Polymeric argues that many of the documents contained in MPT’s
         privilege logs are not, in fact, privileged. These privilege issues
         are closely related to whether MPT should be required to turn over
         a complete copy of a search report, which is one of the issues
         addressed in the Motion to Compel of Defendant Polymeric
         Seeking Disclosure of Documents and Things Pursuant to Fed R.
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 Court GRANTS the motions in part and DENIES the motions in part.

        BACKGROUND

        Plaintiff MPT, Inc. (“MPT”) accuses Polymeric Converting LLC (“Polymeric”) and other

 defendants of infringing certain claims of U.S. Patent No. 5,417,790 (issued May 23, 1995) (the

 “‘790 patent”) and U.S. Patent No. RE 37,164 E (issued May 8, 2001) (the “‘164 patent”).

 Polymeric requested certain documents by discovery requests to MPT and a subpoena to the

 Kennedy Group (“TKG”), a nonparty. Polymeric now seeks an Order compelling MPT and

 TKG to produce these documents.

        MPT and TKG are separate corporate entities. MPT is owned by Michael, Patrick and

 Todd Kennedy. These three brothers are part owners of TKG along with their parents. Michael

 Kennedy is the president of MPT and the president and chief operating officer of TKG.

        TKG and MPT are related in other ways. The patent application that eventually resulted

 in the ‘790 and ‘164 patents was originally assigned to TKG. TKG assigned its interest to

 Michael Kennedy in 1994, who thereafter assigned his interest to MPT in 1995. MPT then

 granted TKG a nonexclusive license to make and sell items covered by the patents at a royalty

 rate of 7% of the net sales price for all licensed products. That license was negotiated by

 Michael Kennedy on behalf of MPT and Bert Kennedy (Michael’s father) on behalf of TKG.

        The vast majority of all products sold under the patents are manufactured and sold by

 TKG under the license. MPT, on the other hand, has only three employees—Michael, Patrick

 and Todd Kennedy. MPT’s offices are in TKG facilities. MPT pays TKG some sort of fee for




          Civ. P. 34 and 37(a) (Doc. 91). The search report issue will be
          discussed with the other privilege issues in a separate memo.

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 overhead and other expenses, but the amount of that fee is not clear. MPT does not manufacture

 anything, has no salespeople, and does little or no marketing. According to Todd Kennedy, the

 purpose of setting up MPT was “[t]o create an entity to hold the patents that we possess.”

        Nonetheless, MPT does make some sales under its own name. MPT has sold three

 varieties of TKG-manufactured placards under TKG part numbers. There is conflicting

 testimony as to whether MPT has its own customers or whether TKG simply diverts some sales

 to MPT. In any event, TKG manufactures all of the products sold by MPT and delivers those

 products to MPT’s customers. As was acknowledged by Michael Kennedy, “technically though

 we [MPT] pay for the placards. You know, there is an invoicing process that goes on.”

        MPT claims that it is entitled to its lost profits to compensate it for the infringement of

 Polymeric and the other defendants. Polymeric counters that it needs detailed information

 regarding TKG’s production costs and sales in order to defend against MPT’s lost profits claim.

 In this regard, Polymeric served a subpoena on TKG seeking the following documents:

        Documents that will allow Defendants to ascertain TKG’s cost of manufacturing
        the placards sold to MPT, Inc. (“MPT”).

        Documents that will allow Defendants to ascertain the price TKG charges
        customers other than MPT for placards alleged to be covered under the patents-in-
        suit.

        Polymeric also seeks the following discovery from MPT on this issue:

        Documents that will allow Defendants to ascertain the cost of manufacturing the
        placards manufactured by The Kennedy Group (“TKG”) and sold by MPT and
        the back-up documentation for the “spreadsheets.”

        MPT and TKG have produced the following: (1) a document evidencing MPT’s profit

 margin (MPT’s price to its customers and TKG’s price to MPT for each of the three products

 MPT sells); and (2) a document listing, for 1998-2004, TKG’s net sales, MPT’s net sales, and

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 MPT’s royalty income from TKG’s sales. These are the spreadsheets referred to in Polymeric’s

 discovery request to MPT. MPT and TKG have refused to produce any other documents

 responsive to the discovery requests.

        Polymeric’s subpoena to the Kennedy Group also sought documents related to other

 issues. The Kennedy Group did not object to producing these other documents. The parties

 simply dispute whether production has been complete as to the following:

        The Avery Dennison/Fasson Roll documents that were identified by Brian Koski
        at his deposition as being in the possession of TKG and reflecting the structure of
        piggyback labels sold by Avery Dennison.

        Hard copies of the information in TKG’s database as reflected on the copies of
        the menu screens that were produced.

        Similarly, the parties dispute whether MPT has provided full disclosure of “[i]nformation

 concerning whether and when a litigation hold was placed on the destruction of email and the

 steps, if any, taken to restore deleted email.”

        Finally, Polymeric also seeks an order compelling MPT to provide “[t]he search report

 and all documents concerning it.” The search report is a document that was created early in the

 prosecution of the patents. A redacted portion of this document was produced during discovery.

 However, MPT, TKG and Michael Kennedy have asserted privilege with respect to the

 remainder of the search report. Because Polymeric has also filed a separate motion that

 addresses this and other privilege issues, the search report will be addressed along with that

 motion.

        STANDARD OF REVIEW

        Production of documents that are within the scope of Rule 26(b) may be requested of

 parties under Rule 34(b) and nonparties under Rule 45(b). Rule 26(b) allows “discovery

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 regarding any matter, not privileged, that is relevant to the claim or defense of any party . . . .”

 Fed. R. Civ. P. 26(b)(1). “Relevant information need not be admissible at the trial if the

 discovery appears to be calculated to lead to the discovery of admissible evidence.” Fed. R. Civ.

 P. 26(b)(1). If objections are filed or responses are believed to be incomplete or evasive, the

 party propounding the request may file a motion to compel under Rule 37(a) or Rule 45(c)(2)(B).

        DISCUSSION

        The parties’ disputes can be split into two general categories. First, MPT and TKG have

 objected to discovery relating to TKG’s cost to produce placards and its prices to third parties on

 relevance grounds. Second, Polymeric believes that document production by TKG and MPT is

 incomplete.

        Kennedy Group Costs and Pricing

        MPT seeks to recover lost profits equivalent to its profit margin multiplied by the

 defendants’ total sales. Because MPT has little or no manufacturing, sales, or operations, it

 contends that its profit margin is equivalent to the price it charges its customers subtracted by the

 price it pays TKG. Polymeric counters that it must be allowed to look beyond the numbers

 provided by MPT to examine TKG’s costs. It contends that the profit margin indicated by

 MPT’s sales may not accurately represent the actual profit MPT should earn on sales of items

 used in the patented method.

        It is beyond dispute that Polymeric would be entitled to examine TKG’s manufacturing

 costs and pricing if TKG and MPT were a single entity. MPT does not argue otherwise. The

 patent damages statute provides as follows:

        Upon finding for the claimant the court shall award the claimant damages
        adequate to compensate for the infringement, but in no event less than a
        reasonable royalty for the use made of the invention by the infringer.
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 35 U.S.C. § 284.

        Damages adequate to compensate for the infringement include the patentee’s lost profits.

 Grain Processing Corp. v. American Maize-Products Co., 185 F.3d 1341, 1349 (Fed. Cir. 1999).

 A patent plaintiff seeking lost profits must demonstrate that but for the infringing activities of the

 defendants, it would have made the profits at issue. Ericsson, Inc. v. Harris Corp., 352 F.3d

 1369, 1377 (Fed. Cir. 2003). Such a showing must be supported by sound economic proof. Id.;

 Grain Processing, 185 F.3d at 1350; see also Herbert v. Lisle Corp., 99 F.3d 1109, 1119 (Fed.

 Cir. 1996) (“Damage awards can not be based upon speculation or optimism, but must be

 established by evidence.”). Although the availability of lost profits is a question of law, the trial

 court has discretion in determining the proper methodology for determining the amount of lost

 profits. Micro Chem., Inc. v. Lextron, Inc., 318 F.3d 1119, 1122 (Fed. Cir. 2003). The patentee

 has the initial burden of demonstrating that it is entitled to lost profits. Shockley v. Arcan, Inc.,

 248 F.3d 1349, 1362 (Fed. Cir. 2001); Crystal Semiconductor Corp. v. Tritech Microelectronics

 Int’l, Inc., 246 F.3d 1336, 1353 (2001). The burden then “shifts to the infringer to show that the

 inference is unreasonable for some or all of the lost profits.” Micro Chem., 318 F.3d at 1122.

        Although the Court may allow “any method showing, with reasonable probability,

 entitlement to lost profits ‘but for’ the infringement[,]” two common tests are the Panduit test

 and the two-supplier market test. Id. The Panduit test requires that the patentee establish the

 following:

        (1) demand for the patented product;

        (2) absence of acceptable non-infringing substitutes;

        (3) manufacturing and marketing capability to exploit the demand; and

        (4) the amount of the profit it would have made.
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 Tate Access Floors, Inc. v. Maxcess Techs., Inc., 222 F.3d 958, 971 (Fed. Cir. 2000). The two-

 supplier market test requires the patentee to show the following:

        (1) the relevant market contains only two suppliers;

        (2) its own manufacturing and marketing capability to make the sales that were diverted

        to the infringer; and

        (3) the amount of profit it would have made from these diverted sales.

 Micro Chem., 318 F.3d at 1124.

        Even a cursory examination of the relevant tests demonstrates that the discovery sought

 by Polymeric would be quite relevant to a defense of MPT’s lost profits claim, if TKG and MPT

 were a single entity. MPT/TKG would be required to demonstrate a capacity to produce

 additional products and the impact of that production on its profit margins. MPT/TKG would

 also have to provide detailed information as to its costs. See, e.g., Chisum on Patents § 20.03[d].

 Polymeric would need adequate discovery to counter these claims.

        However, MPT and TKG are not a single entity. Thus, they argue that only MPT’s costs

 and capacity are at issue. They claim that support for this proposition can be found in Poly-

 America LP v. GSE Lining Tech. Inc., 383 F.3d 1303 (Fed. Cir. 2004). In Poly-America, the

 plaintiff Poly-America was a patent holder that sold no items under the patent. Id. at 1305, 1311.

 The defendant was found to infringe the patents, and the Federal Circuit moved to a discussion

 of a lost profits award. Id. at 1310.

        Poly-Flex was a sister corporation of Poly-America. Id. Standing alone as a

 nonexclusive licensee, Poly-Flex would not have been able to sue at all, let alone receive a lost

 profits award. Id. at 1311. Similarly, it was unlikely that Poly-America could recover lost

 profits on its own, since it had not sold any items under the patent. Id. Poly-America and Poly-
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 Flex attempted to avoid these rules by claiming that they operated as a single economic unit. Id.

 at 1310. In other words, the party with the patent and the right to sue (Poly-America) sought to

 recover for the lost profits of the third party that actually made and sold something (Poly-Flex).

 Id. The Federal Circuit refused to allow Poly-America to recover the lost profits of Poly-Flex:

        While we do not speculate concerning the benefits that the two companies reap
        from dividing their operations and separating the owner of the patent from the
        seller of the patented product, Poly-America and Poly-Flex may not enjoy the
        advantages of their separate corporate structure and, at the same time, avoid the
        consequential limitations of that structure--in this case, the inability of the patent
        holder to claim the lost profits of its non-exclusive licensee. While Poly-America
        may have the right to sue under its patents, both as an owner and as a
        back-licensee, it can recover only its own lost profits, not Poly-Flex's.

 Id. at 1311.

        One of the “advantages” of the MPT/TKG corporate structure is that it provides the

 potential to inflate MPT’s profit margin, and thus its lost profits. In this sense, MPT’s

 concession that it is not attempting to recover the lost profits of TKG merely highlights the

 potential for manipulation of the lost profits award in this case. The patent holder in Poly-

 America did not argue that it could recover lost profits of its own right. Its only possibility for

 recovery of lost profits was to adopt its licensee’s lost profits. In contrast, MPT’s proposed lost

 profit calculation is MPT’s profit margin multiplied by the defendants’ sales. If TKG were the

 patent holder, it would presumably seek its own profit margin multiplied by the defendants’

 sales. Either way, the total number of sales available for the lost profits calculation is the same.

 The only difference is the profit margin used as a multiplier. Assuming that MPT’s profit

 margin multiplier is greater than TKG’s, it is to MPT’s advantage not to attempt to recover for

 TKG’s lost profits.

        The minimal information disclosed by MPT and TKG thus far demonstrates how easily

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 MPT’s profit margin multiplier could be manipulated. MPT sells TKG products under TKG part

 numbers. MPT has almost no operations, and the few sales it makes appear to be initiated by

 TKG. TKG manufactures and ships the products. MPT’s involvement is largely limited to an

 accounting transaction.

        TKG sells other products that are covered by the patents to other customers. Neither

 MPT nor TKG have presented any evidence that MPT’s sales are representative of the overall

 profit margin on TKG sales. Because TKG’s sales are over 30 times greater than MPT’s sales,2

 it would be possible for TKG to sell products to MPT at subsidized prices or divert some highly

 profitable sales to MPT3 with little or no impact on TKG’s bottom line. However, such tactics

 could increase the profit margin multiplier available for MPT’s infringement calculation

 exponentially.

        According to MPT and TKG, the fact that their relationship might give MPT a larger

 profit margin is irrelevant. MPT believes that Poly-America stands for the proposition that “it is

 not relevant to inquire as between the companies how that profitability of the invention is

 divided” and that “it is not within the trial court’s purview to inquire into the reasons for any

 such corporate division.” Polymeric counters that Poly-America does not stand for the sweeping

 propositions proposed by MPT. Polymeric argues that Poly-America is merely a reaffirmation of

 the rule that a non-exclusive licensee does not have standing to sue for damages.



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          In fact, MPT’s 2004 revenue from its own sales was less than half
          of its revenue from the 7% royalty TKG paid on its sales.
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          Even if TKG makes a profit on its sales to MPT, that does not
          prevent them from inflating the profit margin multiplier by
          diverting some of the most profitable sales to MPT.

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        Polymeric is correct. Nowhere in Poly-America does the Federal Circuit indicate that

 courts should always blind themselves to the realities of corporate arrangements. Rather, the

 Federal Circuit’s concern was similar to the Court’s concern in this instance: “Awarding lost

 profits to Poly-America [MPT] on the basis of its private arrangement with Poly-Flex [TKG]

 would synthetically create lost profits for Poly-America [MPT] . . . .” Id. at 1311-12.

        The issue is whether MPT is entitled to lost profits under the law. Simply put, if the

 profit margin multiplier created by the MPT/TKG relationship is in excess of the actual profit

 margin MPT would have earned “but for” defendants’ sales, MPT is not entitled to that amount

 in lost profits. The result suggested by MPT and TKG—that parties are allowed to

 “synthetically create lost profits” in excess of the amount they could ever earn “but for” the

 infringement—would clearly run counter to law. Ericsson, 352 F.3d at 1377.

        Poly-America’s dicta that “we do not speculate concerning the benefits that the two

 companies reap from dividing their operations and separating the owner of the patent from the

 seller of the patented product” does not support a per se rule that the relationship between a

 patent holding company and its related licensee is always irrelevant. Indeed, the Federal Circuit

 has considered the relationship between related companies in a number of cases. In one case, the

 Federal Circuit found that the related companies’ attempt to game the normal rules applicable to

 patent cases qualified for a “chutzpah” award:

        Stripped to its essentials, CFM contends that a parent company can incorporate a
        holding company in another state, transfer its patents to the holding company,
        arrange to have those patents licensed back to itself by virtue of its complete
        control over the holding company, and threaten its competitors with infringement
        without fear of being a declaratory judgment defendant, save perhaps in the state
        of incorporation of the holding company. This argument qualifies for one of our
        "chutzpah" awards. See Refac Int'l, Ltd. v. Lotus Dev. Corp., 81 F.3d 1576, 1584,
        38 U.S.P.Q.2D (BNA) 1665, 1671 (Fed. Cir. 1996); Checkpoint Sys., Inc. v.

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         United States Int'l Trade Comm'n, 54 F.3d 756, 763 n.7, 35 U.S.P.Q.2D (BNA)
         1042, 1048 n.7 (Fed. Cir. 1995) (noting that "chutzpah" describes "the behavior of
         a person who kills his parents and pleads for the court's mercy on the ground of
         being an orphan"). While a patent holding subsidiary is a legitimate creature and
         may provide certain business advantages, it cannot fairly be used to insulate
         patent owners from defending declaratory judgment actions in those fora where
         its parent company operates under the patent and engages in activities sufficient
         to create personal jurisdiction and declaratory judgment jurisdiction.

 Dainippon Screen Mfg. Co. v. CFMT, Inc., 142 F.3d 1266, 1271 (Fed. Cir. 1998).

         In another case, the Federal Circuit held that a related company’s sales were relevant to a

 patent holding company’s damage award. One form of patent damages is a reasonable royalty.

 The reasonable royalty calculation requires the Court to conduct a hypothetical negotiation

 between the patentee and the alleged infringer. Riles v. Shell Exploration & Prod. Co., 298 F.3d

 1302, 1311 (Fed. Cir. 2002). In Union Carbide Chems. & Plastics Tech. Corp. v. Shell Oil Co.,

 the Federal Circuit considered this hypothetical negotiation in the context of a patent holding

 company and its parent. 425 F.3d 1366, 1377-78 (2005). The patent holding company did not

 make, sell or use the patented product. Id. at 1377. The district court allowed evidence of the

 sales of the holding company’s parent company. Id. The Federal Circuit approved, stating that

 “any hypothetical negotiation with the holding company must necessarily include the reality that

 the impact on the [parent] would weigh heavily in all decisions.” Id. at 1378.

         These cases demonstrate that courts may consider the relationship between the patent

 holder and a related company in patent cases and on issues of damages. It is also quite possible

 that the exact issue faced by the Federal Circuit in Union Carbide might come to pass in this

 case. Assuming arguendo that defendants are found to infringe, it is not guaranteed that MPT

 will be able to prove that it is entitled to lost profits. Should that occur, the Court is required to

 allow damages “in no event less than a reasonable royalty for the use made of the invention by

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 the infringer.” 35 U.S.C. § 284; see also Crystal, 246 F.3d at 1355 (holding that “the Patent Act

 mandates no less ‘than a reasonable royalty’ for every infringing sale”). This would put TKG’s

 financials at issue.

         In sum, the discovery sought by Polymeric is reasonably calculated to lead to the

 discovery of admissible evidence. While related companies may be able to allocate profits as

 they wish, a patent lost profits award—particularly an award that is based on a profit margin

 multiplier—cannot be based solely upon an accountant’s choice as to which scenario will

 produce the highest award. To hold otherwise would allow patent plaintiffs to game the system

 for damage awards that exceed the amount they could actually receive “but for” the

 infringement. Accordingly, the Court GRANTS Polymeric’s motion as to TKG’s costs and sales

 information.

         Incomplete Production of Documents

         Polymeric contends that MPT has not provided it with complete responses regarding “(i)

 whether a litigation hold was placed on the destruction of email and, if so, when; [and] (ii) what,

 if any, steps are being taken to restore deleted email . . . .”4 However, both MPT and its

 attorneys have attested that few if any emails relevant to the lawsuit have been deleted. They

 have admitted that other emails unrelated to the lawsuit have been deleted. They have also

 described in detail the steps they have taken to retain email records. MPT has been forthcoming

 with all information it has on this issue. There is no basis for an order compelling further

 production.



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          In a separate motion, Polymeric also seeks production or in camera
          review of e-mails that MPT has claimed are privileged.

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        Polymeric also contends that Kennedy has not produced “The Avery Dennison/Fasson

 Roll documents that were identified by Brian Koski at his deposition as being in the possession

 of TKG and reflecting the structure of the piggyback labels sold by Avery Dennison” and “Hard

 copies of the information in TKG’s database as reflected on the copies of the menu screens that

 were produced.”

        With respect to the former, TKG has represented that despite a diligent search it is unable

 to locate any such documents. There is no reason to compel the production of documents that do

 not exist. Regarding the latter, Polymeric’s subpoena sought hard copies of menu screens that

 display “the identity of the source of products, by manufacturer name and product number,” that

 are used to make particular TKG products. Polymeric does not argue that the main menu screens

 were not produced for these products. Instead, it argues in its Reply that it needs to view the

 background tabs with more detailed information. However, the screens produced by TKG

 provide the information sought by Polymeric, namely, the source of the products. TKG has

 produced all it was asked to produce.

        CONCLUSION

        The Court GRANTS Polymeric’s motion in part and DENIES Polymeric’s Motion in

 part. The Court ORDERS TKG to produce the following:

        Documents that will allow Defendants to ascertain TKG’s cost of manufacturing
        the placards sold to MPT, Inc. (“MPT”).

        Documents that will allow Defendants to ascertain the price TKG charges
        customers other than MPT for placards alleged to be covered under the patents-in-
        suit.

        The Court ORDERS MPT to produce the following:

        Documents that will allow Defendants to ascertain the cost of manufacturing the

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        placards manufactured by The Kennedy Group (“TKG”) and sold by MPT and
        the back-up documentation for the “spreadsheets.”


        IT IS SO ORDERED.




                                  /s/ Patricia A. Gaughan
                                  PATRICIA A. GAUGHAN
                                  United States District Judge

 Dated: 2/9/06




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